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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

EASTERN DIVISION
STATE OF ILLINOIS,
Plaintiff,
Vv.
Case No. 17-cv-6260
CITY OF CHICAGO, Judge Robert M. Dow Jr.
Defendant.

 

 

JOINT MOTION FOR CLARIFICATION OF AGREED CONFIDENTIALITY ORDER

The Parties jointly move the Court to enter an order confirming the scope of the Agreed
Confidentiality Order in this case (“Confidentiality Order”) (Dkt. 3 1), consistent with Federal Rule
of Evidence 502(d). In support thereof, the Parties state as follows:

1. On January 31, 2019, the Court granted the Parties’ joint motion to approve the
Consent Decree. (Dkt. 702). On March 1, 2019, the Court appointed Ms. Maggie Hickey as the
Monitor under the terms of the Consent Decree. (Dkt. 713). On April 1, 2019, the Court appointed
the Honorable David Coar as a Special Master in the case. (Dkt. 725).

2. Prior to the approval of the Consent Decree, the Court entered the Confidentiality
Order to protect sensitive confidential information “produced or adduced in the course of
discovery.” (Dkt. 31, § 1).

3. The Parties anticipate responding to requests from the Monitor and her team, or
sndividuals or entities working for her team (collectively, “the Monitor”), by producing documents
and Electronically Stored Information (“ESI”) to the Monitor covered by the terms of the
Confidentiality Order. Similarly, the Parties anticipate responding to requests from the Special

Master.

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4, Implementing and demonstrating compliance with the terms of the Consent Decree
will require the significant exchange and disclosure of information and materials, including
sensitive law enforcement records.

5. Therefore, the Parties request confirmation from the Court that the Scope of the
Confidentiality Order extends to all documents and ESI produced or adduced in the course of
implementing or demonstrating compliance with the terms of the Consent Decree.

6. Additionally, the Parties request confirmation that the Monitor and the Special
Master will maintain all information designated as confidential pursuant to the Confidentiality
Order in a confidential manner.

WHEREFORE, the Parties jointly and respectfully move the Court to enter an order
confirming that (1) the Scope of the Confidentiality Order extends to all documents and ESI
produced or adduced in the course of implementing or demonstrating compliance with the terms

of the Consent Decree, and (2) the Monitor and the Special Master will maintain all information

designated as confidential pursuant to the Confidentiality Order in a confidential manner.

Dated: April 25, 2019
The State of Illinois

By: /s/ Shareese Pryor

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Respectfully submitted,
The City of Chicago
By: /s/ Allan T. Slagel

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